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Case 4:19-mj-05040-LSS Document 1 Entered on FLSD Docket 12/26/2019 Page 2 of 5




                                              AFFIDAW T
             1,SpecialA gentM ichaelW .M iller,being duly sw orn,depose and statesasfollows;

                           G TRODU CTION AND AGENT BA CK GR OUND

              1.    Iam a SpecialAgentwith theNavalCriniinalInvestigativeService CWClS'')
   .
       having been so employed since Septem ber23,2003. A sa SpecialAgent,my dutiesinclude the

       investigkionofviolationsofTitles18& 21oftheUnitedSttesCode,aswellasviolâtionsofthe
       Uniform CodeofM ilitaryJustice(RUCMJ''I.1am currentlyassignedtotheNCIS SoutheastField
       Officeand focuson exam ining variousnationalsecurity and counterintelligencem atters.Priorto

       my em ploym entwith theNCIS,1served in theUnited StatesN avy andaswellastheN orfolk,VA

       PoliceDepaM ent.

              2.     lmakethisaffidavitin supportofan arrestwarrantforLY IJYOU LIAO ,aChinese

       nationaland citizen ofChina.
                     Based on the facts setforth in this affdavit,I subm itthere is probable cause to

       believethatLYIJYOU LIAO hascommittedaviolation of18U.S.C.j 1382 (EnteringM ilitmy
       NavalorCoastGuardProperty)forthepurposeoftnkingphotographsofdefenseinstallations,
       whichisaviolation of18U.S.C.9795.
                     Theinformationcontainedinthisaë davitisbaseduponmypersonalZ owledge,
       aswellasknowledge,inform ation and docum entation that1obtained f'
                                                                        rom other1aw enforcem ent

       officers and civilian w im esses who have first-hand knowledge of the events described herein.

       Because thisaffdavitissubm itted forthe lim ited purpose ofestablishing probable cause,itdoes

       notcontain al1ofthe inform ation known to m e concem ing this investigation,but contains only

       factsnecessmy to establish probable causefortheinstantrequest.
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                           FACTS ESTABLISH ENG PRO BABLE CAUSE

                    On D ecem ber 26, 2019, at approxim ately 6:50 A .M ., LY UYO U LIAO was

    observed by w itnessesw alking along the securefence lineoftheU .S.M ilitary lnstallation,Naval

    AirStation Key W est,FL,Trum an M nex,mld entering the restricted areaby walking around the

    Perinketerfenceand entering thefacility from therocksalongthewaterline. Thefenceline
    LYU YOU LIAO circum vented had nlzm erous wa ings posted on the security fence and grass

    propertyadjacenttotherocks.
                              thatnotedthefencedfacilitywasaKCU.S.GovernmentProperty-
    No Trespassing''and GW ASKW W arning Restricted AreaKeep OutAuthorized PerspnnelOnly.''

             6.     Afterwitnessesverbally warned LYUYOU LIAO ihathewasnotallowedto go
    intothe restricted area,they observed LY IJYO U LIAO entertheareaanm ay and walk along tlze

    property ofTruman Annex and take severalphotographs. W itnesses then observed LY UYO U

    LI
     IAO take photographs of.other governm entbuildings within the vicinity ofsensitive m ilitary

    faciiîlities.
                    After severalm inutes on the restricted property,U .S.M ilitary Police approached

    LY UYO U LIAO. The police oflicers observed LY UYOU LIA O taking photographs with his

    camera as they approached him on foot. In addition,om cers observed LY IJYOU LIAO in

             n of a cellulartelephone. W hen om cersapproached him ,LY IJYO U Lu O stated he
    possessio'                                                                   .



    was trying to take photographs of the sumise.The officers obtained his consentto look atthe

    photographsthatwerrstoredonhiscamera.Theyobservedphotopaphsofthebuildingsandother

    property on Trum an Annex. LY UYOU LIAO washeld untilaN CIS agentarrived.

             8.     W hen the NCIS agentanived,LYIJYOU LIAO told the agentthathe readsand

    understands English betterthan he can speak it. LY UYO U LIAO was advised ofhisM iranda

    rightsverbally.Heap eedtowaivehisdghtsand speaktotheagent.LY UYO U Lu O who speaks
Case 4:19-mj-05040-LSS Document 1 Entered on FLSD Docket 12/26/2019 Page 4 of 5




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLO RIDA

                               CaseNo.


    UNITED STATES O F AM ERICA



    LYUYOU LIAO ,

                     Defendant.            /


                                  CRIM IN AL COVER SHEET

        Did thism atter originate from a m atterpending in the CentralRegion ofthe United States
        Attonaey'sOfficepriortoAugust9,2013(Mag.JudgeAliciaValle)?                  Yes / No
    2. Did thism atteroriginate from a matterpending in theNorthern Region ofthe United Statcs
        Attorney'sOfûcepriortoAugust8,2014(Mag.JudgeShaniekMaynard)?               Yes / No


                                               Respectfully subm itted,

                                               ARIAN FAJARD O ORSHAN
                                               UN ITE STATES ATTORN EY


                                                            V '.
                                               Karen Gilbel't
                                               ASSIS NT UNITED STATES AU ORNEY
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